Case 1:23-cv-22276-JB Document 123 Entered on FLSD Docket 04/29/2024 Page 1 of 3




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                                          CASE NO. 2023-cv-22276-BB

 PATRICK MULLER, an individual, and MOUNA
 BOUZID, an individual,

                    Plaintiffs,

 vs.

 ITEB ZAIBET a/k/a “Swagg Man”, an individual,
 LOLITA C. REBULARD, an individual, LUXURY
 PROPERTIES INC., a Delaware corporation,
 BEACH PROPERTIES RENTAL, INC., a Delaware
 corporation, LUXURY PROPERTIES TRUST u/a/d
 March 2, 2018, AAA PLUS FINANCIAL GROUP
 INC., a Florida corporation, YVETTE TENORD, an
 individual, JOHNNY PREVILUS, an individual,
 RES INVESTMENT INTER, INC., a Florida
 corporation, INFINITE RES INVESTMENT, LLC,
 a Nevada limited liability company, NEW MIAMI
 REALTY, CORP., a Florida corporation, and
 GUZMAN305 TRUST, a Florida trust,

             Defendants.
 _________________________________________/

              DEFENDANT LUXURY PROPERTIES TRUST’S
       UNOPPOSED MOTION TO RESCHEDULE STATUS CONFERENCE

          Defendant, LUXURY PROPERTIES TRUST dated March 2, 2018, by and through

 undersigned counsel, hereby requests that the Court reschedule the Status Conference currently set

 for Monday, May 6, 2024 at 11:00 a.m., and in support, states as follows:

          1.        On April 25, 2024, the Court entered an Order Setting Status Conference in this

 matter for May 6, 2024 at 11:00 a.m. See DE 122.

          2.        Undersigned counsel (sole practitioner) is already scheduled to be at the Miami-

 Dade County Courthouse at 10:30 a.m. on May 6, 2024, for an hour and a half in-person special


                                              REINER & REINER, P A
   ONE DATRAN CENTER  9100 SOUTH DADELAND BLVD  SUITE 901  MIAMI  FLORIDA  33156  TEL 305 670-8282  FAX 305 670-8989
Case 1:23-cv-22276-JB Document 123 Entered on FLSD Docket 04/29/2024 Page 2 of 3




 set hearing in front of Judge Tanya Brinkley. See Jorge Agrelo vs. Coral Gate East Condominium,

 Inc. (Miami-Dade Case No.: 2022-005392-CA-01).

          3.        Therefore, undersigned counsel hereby respectfully requests the Status Conference

 in this matter be rescheduled so that he may attend.

          4.        CONFERRAL: Undersigned counsel has conferred with counsel for Plaintiffs and

 counsel for Defendants Johnny Previlus, Yvette Tenord, AAA Plus Financial Group, Inc., Res

 Investment Inter, Inc. and Infinite Res Investment, LLC who have all stated that they do not oppose

 the relief requested.

          WHEREFORE, Defendant, LUXURY PROPERTIES TRUST dated March 2, 2018,

 respectfully requests the Court reschedule the Status Conference currently scheduled for May 6,

 2024 at 11:00 a.m., in the above-styled cause of action to a later date, together with any and all

 further relief the Court deems just and proper.

                                                          Respectfully submitted,


                                                          __________________________________
                                                          DAVID P. REINER, II; FBN 416400
                                                          REINER & REINER, P.A.
                                                          Counsel for Luxury Properties Trust
                                                          9100 So. Dadeland Boulevard, Suite 901
                                                          Miami, Florida 33156-7815
                                                          Tel: (305) 670-8282; Fax: (305) 670-8989
                                                          dpr@reinerslaw.com; eservice@reinerslaw.com




                                                              2
                                              REINER & REINER, P A
   ONE DATRAN CENTER  9100 SOUTH DADELAND BLVD  SUITE 901  MIAMI  FLORIDA  33156  TEL 305 670-8282  FAX 305 670-8989
Case 1:23-cv-22276-JB Document 123 Entered on FLSD Docket 04/29/2024 Page 3 of 3




                                              CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on April 29, 2024, I electronically filed the foregoing document
 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
 served this day on all counsel of record or pro se parties either via transmission of Notices of
 Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
 parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                          __________________________________
                                                          DAVID P. REINER, II; FBN 416400




                                                              3
                                              REINER & REINER, P A
   ONE DATRAN CENTER  9100 SOUTH DADELAND BLVD  SUITE 901  MIAMI  FLORIDA  33156  TEL 305 670-8282  FAX 305 670-8989
